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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

   ODETTE BLANCO DE FERNANDEZ
   née BLANCO ROSELL, et al.,
         Plaintiffs,

         v.                                    CASE NO. 1:21-CV-22778-
                                               COOKE/DAMIAN
   CMA CGM S.A. (a/k/a CMA CGM THE
   FRENCH LINE; a/k/a CMA CGM GROUP)
   and CMA CGM (AMERICA) LLC,
         Defendants.
   _________________________________________




               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ COMBINED
              MOTIONS TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
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         Plaintiffs hereby oppose the Combined Motions to Dismiss Plaintiffs’ Amended
  Complaint the motion to stay filed by Defendant CMA CGM (AMERICA) LLC (“CMA
  CGM America”) and Defendant CMA CGM S.A. (“CMA France”).
                                        INTRODUCTION
         Defendants’ motion to dismiss should be denied. First, the estates and inheritors are
  proper plaintiffs and should not be dismissed. Second, there is nothing in the Helms-Burton
  Act (“HBA”) that requires the claimant to be a U.S. national at the time of confiscation and
  any such limitation contradicts the Act’s express provisions and related statutes. Third, as
  every court encountering the argument has held, the HBA does not require direct ownership
  and shareholders of companies whose assets were confiscated may bring claims. Fourth, the
  HBA does not require a violation of international law; hence the domestic takings rule is
  wholly inapplicable. Fifth, Defendants improperly raised collateral estoppel in a Rule 12(b)(6)
  motion even though they are not seeking dismissal based on it. Regardless, granting preclusive
  effect to a different court’s decision on a limited contract interpretation issue currently on
  appeal would not impact pretrial proceedings in this case. Therefore, the Court should deny
  or defer consideration of collateral estoppel rather than enter an order that the Court may be
  required to vacate. Sixth, the Court has personal jurisdiction over CMA France.
                                 RELEVANT BACKGROUND
         Throughout their motion, Defendants take the unusual approach of legitimizing a
  despotic, tyrannical government that oppresses its citizens. Belying history, Defendants’
  motion treats the Cuban revolution as a friendly affair and depicts Plaintiffs as criminal actors.
  Defendants characterize mass theft through confiscation during the Cuban revolution as
  lawful conduct, highlighting the Cuban government’s pretextual reasons for that theft as
  legitimate and overlooking mass torture and extrajudicial killings committed in the name of
  those same pretexts. In a particularly regrettable passage, Defendants liken the repressive,
  murderous Cuban regime to the United States government, arguing that Cuba, whose
  mercenaries confiscated by force without any due process, simply engaged in the same types
  of forfeiture as the IRS and the Department of Justice. MTD at 16 (citing The IRS Collection
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  Process, Publication 594, INTERNAL REVENUE SERVICE (July 2018) and Asset Forfeiture Policy
  Manual 2021, U.S. DEP’T OF JUST., 2021). 1
         Plaintiffs are the victims of the Cuban government, not its outlaws. Plaintiffs’ property
  was not “forfeited as a sanction.” MTD at 1. These were, of course, pretextual justifications
  that the violent, revolutionary Cuban government used to murder, oppress, and steal all
  private businesses in Cuba. Defendants now exploit those pretexts to claim that the
  confiscations from the Plaintiffs were justified and not “wrongful.” 2 Announcing patently
  contrived and false justifications for torture, murder, and theft does not make torture, murder,
  and theft any less wrongful. Plaintiffs submit that any discourse about the Cuban revolution
  in legal filings should be accurate and respectful of its victims. 3 Defendants’ adoption of
  Castro’s pretexts is unseemly and wrong.




  1
   Defendants’ revisionist history is contradicted by Congressional findings in the HBA (22
  U.S.C. 6021), including: “(15) The Castro government has utilized from its inception and
  continues to utilize torture . . . as well as execution, exile, confiscation, political
  imprisonment, and other forms of terror and repression, as means of retaining power.”
  2
   Defendants argue the confiscations were justified because they mistakenly contend that the
  HBA requires a “wrongful” confiscation. As shown below, Defendants confused the non-
  operative, congressional findings for the operative, Title III provisions. No operative
  provision of the HBA uses the term “wrongful.” Rather, a confiscation is a taking or seizure
  without compensation (22 U.S.C. § 6023(4)), exactly what Plaintiffs alleged. Of course, it was
  also wrongful, but that is not the legal standard under the HBA.
  3
    See, for example, Dispatch From the Embassy in Cuba to the Department of State, Havana,
  February 25, 1959 (“The civilian courts are being purged . . .. Revolutionary Courts,
  operating under the ‘Rebel Code of Justice,’ are conducting summary courts-martial of
  persons both civilian and military accused of a wide variety of crimes committed under the
  previous regime. Trials, particularly in the provinces, are often mere formalities.”) (available
  at https://history.state.gov/historicaldocuments/frus1958-60v06/d257); Fading legend of
  Castro the idealist; Alistair Cooke, January 14, 1959 (“The Associated Press last night
  calculated that since the New Year, at least 145 persons have been shot . . .. In Santiago, the
  rebels have arrested 320 others, of whom 70 were given a mass trial and all found guilty.
  Fourteen were taken out and shot at once and the rest will be executed in batches.”) (emphasis
  added) (available at https://www.theguardian.com/news/2016/dec/16/looking-back-
  castro-cuba-revolution).



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                                           ARGUMENT

  I.     The Personal Representatives of the Deceased Blanco Rosell Siblings’ Estates and
         the Inheritors are Proper Plaintiffs
         Based on the requirement that a Title III claimant must have been an American citizen
  who acquired ownership of the claim to Confiscated Property before March 12, 1996 (22
  U.S.C. § 6082(a)(4)(B)), Defendants mistakenly argue that the estates and inheritors cannot
  bring a Title III claim. For the reasons explained below, the Court should reject this argument.
         A.      The Estates Did Not Acquire Ownership of the Deceased Siblings’ Claims
                 and Any Other Interpretation Violates Constitutional Equal Protection
         Defendants incorrectly assume that, when the Blanco Rosell siblings died, a change in
  legal ownership of deceased siblings’ claims automatically occurred, causing their estates to
  “acquire” ownership of their claims. MTD at 8. An estate, however, is not a legal entity and
  cannot acquire ownership of anything. An estate is simply the term used to describe the
  property of a person who has died. Under Florida law, where the deceased siblings’ estates
  are pending, an estate cannot acquire the deceased’s property because the estate is the
  deceased’s property. Fla. Stat. § 731.201(14) (“‘Estate’ means the property of a decedent that
  is the subject of administration.”); see 33 C.J.S. Executors and Administrators § 5 (“The
  ‘estate’ of a deceased person is not a legal entity but is merely a name indicating the sum total
  of the decedent’s assets and liabilities”) (emphasis added).
         Plaintiffs submit that that the Seaboard Marine decision – which is now on appeal – in
  holding that the estates “acquired” ownership of the deceased siblings’ claims, 2021 WL
  3173213, at *9, relied on inapplicable cases, including case law that pre-dates the operative
  Florida Probate Code, Fla. Stat. § 731.201(14), which defines an “estate” as the decedent’s
  property. 4 The Seaboard Marine court’s conclusion is (as will be demonstrated on appeal)
  contrary to Florida law as well as cases from around the country, which acknowledge that an
  estate is not a legal entity but simply a term used to describe a decedent’s property. See, e.g.,
  D'Addario v. D'Addario, 901 F.3d 80, 102 (2d Cir. 2018) (an estate is “merely a name to indicate
  the sum total of the assets and liabilities of the decedent”) (citations omitted); Smith v. Cimmet,


  4
    For this reason, Plaintiffs also respectfully disagree with the Crowley decision adopting the
  reasoning of the Seaboard Marine court. de Fernandez v. Crowley Holdings, Inc., No. 21-CV-
  20443, 2022 WL 860373, at *6 (S.D. Fla. Mar. 23, 2022).


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   199 Cal. App. 4th 1381, 1390 (2011) (an estate “is simply a collection of assets and liabilities”)
   (citations omitted). 5
          Moreover, the Seaboard Marine court’s interpretation of Section 6082(a)(4)(B) violates
   constitutional equal protection. Importantly, the cutoff date in Section 6082(a)(4)(B) applies
   equally whether the claimant is an individual or a corporation. See 22 U.S.C. § 6023(15)
   (defining “United States national” to include both citizens and legal entities). As claimants,
   they are identical in all respects. Thus, an interpretation of the HBA that strips one class of
   U.S. nationals—natural persons—of their claims upon dying natural death, while allowing
   another class of U.S. nationals— legal entities such as corporations—to retain their claims in
   perpetuity, creates two arbitrary and irrational classes of unequal claimholders. Such an
   outcome would eviscerate the equal protection conferred by the Due Process Clause of the
   Fifth Amendment. See Bankers Life & Cas. Co. v. Crenshaw, 486 U.S. 71, 83 (1988) (“[A]rbitrary
   and irrational discrimination violates the Equal Protection Clause under even our most
   deferential standard of review.”).
          Title III’s purpose is reflected in its title: the “Protection of Property Rights of United
   States Nationals.” 22 U.S.C. §§ 6081-6085. There is no rational basis for treating U.S.
   nationals who are natural persons differently than U.S. nationals who are legal entities; such
   an interpretation of Section 6082(a)(4)(B) would undermine Congress’s stated purpose for the
   Act and would be contrary to “the common mandate of statutory construction to avoid absurd
   results.” Rowland v. California Men’s Colony, Unit II Men’s Advisory Council, 506 U.S. 194, 200
   (1993). The only reasonable interpretation is that Section 6082(a)(4)(B) is simply a statutory
   cutoff date for when an individual or legal entity had to have been or become a U.S. citizen
   to be able to acquire ownership of a claim. It is unrelated to whether a claim survives a
   claimant’s death. Indeed, in a ruling made after the Seaboard Marine ruling, this Court held
   that HBA claims do survive a claimant’s death. See Soto v. Booking.com B.V., No. 20-civ-24044-
   MGC, Doc. No. 48 (S.D. Fla. Sep. 29, 2021).




   5
    See also, e.g., Est. of Tallman ex rel. Tallman v. City of Gastonia, 682 S.E.2d 428, 434 (N.C. App.
   2009); Zaboth v. Beall, 26 Va. Cir. 269, 1992 WL 884464, *1 (Va. 1992); Republic Bankers Life
   Ins. Co. v. Bunnell, 478 S.W.2d 800, 801 (Tex. Civ. App. 1972); Matter of Tr. Est. of Renjes, 42
   Haw. 151, 163 (1957).


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          As alleged in the Amended Complaint, the decedents acquired their claims to the
   Confiscated Property long before March 12, 1996. The deceased siblings’ Personal
   Representatives are the proper Plaintiffs to represent the deceased’s interests in this case. See
   Fla. Stat. § 733.612(20) (the personal representative may “[p]rosecute or defend claims or
   proceedings in any jurisdiction for the protection of … the decedent’s property”) (emphasis
   added). Under both Florida law and constitutional equal protection, Section 6082(a)(4)(B)
   should be interpreted to preserve the deceased siblings’ claims.
          The personal representative of the estates did not acquire ownership of the claims
   against Defendants. Likewise, the decedents’ estates did not acquire ownership of the claims.
   The claims against Defendants are part of each decedent’s estate and the personal
   representatives bring those claims in a representative capacity because the estates are not legal
   entities capable of owning anything. The MTD must be denied with respect to the estates’
   claims being prosecuted by their personal representatives.
          B.     In the Alternative, the Inheritors are Proper Plaintiffs
          Although Defendants cite non-binding decisions that have interpreted “acquire” to
   include passive inheritance, Defendants have presented no binding authority that an heir may
   not “acquire” ownership of a claim through inheritance after March 12, 1996. Plaintiffs urge
   the court to adopt the interpretation of former Congressman Dan Burton, co-sponsor of the
   HBA, and others who have explained:
          There is nothing in the actual language of section 6082(a)(4)(B) that precludes
          an heir to a claim that existed before March 12, 1996, from pursuing that same
          claim under Title III after that date. The requirement in section 6082(a)(4)(B)
          that the U.S. national acquire ownership of the claim before March 12, 1996
          does not apply to inheritances of a claim. That provision was specifically enacted
          to disallow the acquisition of claims by purchase or trade in a secondary market
          for claims….Stated simply, Congress did not want to create a marketplace for
          the buying and selling of Title III claims. A claim inherited from a family
          member was never at issue.
   Brief of Former Congressmen Dan Burton and Robert Torricelli and Directorio Democratico
   Cubano, Inc., Amici Curiae in Support of Appellant and Reversal, in Garcia-Bengochea v.
   Carnival Corp., 2021 WL 1085544 (11th Cir. Feb. 23, 2021) (emphasis added). 6

   6
     Defendants cite Gonzalez v. Amazon, Inc., 835 Fed. Appx. 1011, 1012 (11th Cir. 2021), but
   that case is inapposite. In Gonzalez, the Eleventh Circuit found an HBA claim inherited after
   March 12, 1996, to be an “ownership” claim, namely Gonzalez’s mother’s HBA claim, which


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   II.    Cuba Need Not Have Confiscated the Property From a U.S. National
          Without citing any operative provision of the HBA, Defendants incorrectly claim that
   the HBA imposes an explicit condition that Cuba must have confiscated the property from a
   U.S. national. There is no such requirement in the HBA. The HBA’s provisions are clear and
   unambiguous and the Court’s inquiry begins and ends there. Should the Court nevertheless
   pursue a further inquiry, a requirement of U.S. nationality at the time of confiscation cannot
   be read into the Act because such a requirement would contradict express language in other
   provisions of the Act, a related statute, and the Act’s legislative history.
          A.      The Plain Language Of The HBA Establishes That Claimants And Property
                  Owners Need Not Be U.S. Nationals At The Time Of Confiscation
          The key case cited by Defendants acknowledged that the HBA’s provisions do not
   include an “explicit condition that the confiscation have deprived a United States national of
   the property at issue.” Regueiro v. Am. Airlines, 2022 WL 2399748, at *6 (S.D. Fla. May 20,
   2022). The judicial inquiry is therefore complete. Courts must “begin [their] construction of a
   statutory provision where courts should always begin the process of legislative interpretation,
   and where they often should end it as well, which is with the words of the statutory provision.”
   CBS Inc. v. PrimeTime 24 Joint Venture, 245 F.3d 1217, 1222 (11th Cir. 2001) (citations
   omitted). “[W]hen the words of a statute are unambiguous, then, this first canon of statutory
   construction is also the last: judicial inquiry is complete.” Id. (emphasis added)




   she inherited from her husband in 2016: “after Gonzalez’s father passed away in November
   of 2016, Gonzalez’s mother inherited the property. She chose to give her ownership claim to
   Gonzalez, her eldest son, because of her advanced age and fragile health.” Id. at 1011. The
   difficulty presented by the Gonzalez case is that there were two post-March 12, 1996 events:
   (1) the 2016 inheritance by Gonzalez’s mother from Gonzalez’s father when he died and (2)
   Gonzalez’s mother’s 2016 inter vivos transfer of “her ownership claim to Gonzalez, her eldest
   son, because of her advanced age and fragile health.” Id. The inter vivos transfer from mother
   to son arguably runs afoul of §6082(a)(4)(B). The Eleventh Circuit upheld the dismissal of
   Gonzalez’s claims because “Nothing within Gonzalez’s amended complaint suggest he
   acquired a claim to his grandfather’s property before [March 12, 1996].” Id. But in doing so,
   the Eleventh Circuit referred to Gonzalez’s mother’s claim as an “ownership” claim, even
   though she inherited her claim after March 12, 1996.


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                  1.     The Act Contains No Requirement That Claimants Be U.S.
                         Nationals At The Time of Confiscation
          The principal operative provision of Title III of the HBA states, in relevant part,

          any person that, after the end of the 3-month period beginning on the effective
          date of this title, traffics in property which was confiscated by the Cuban
          Government on or after January 1, 1959, shall be liable to any United States
          national who owns the claim to such property for money damages….

   22 U.S.C. § 6082(a)(1)(A) (emphasis added). There is no requirement that the claimant or
   property owner must have been a U.S. national when their property was confiscated.
          The use of the phrase “any United States national” in Section 6082(a)(1)(A) confirms
   that Congress intended to include all U.S. nationals as potential claimants under Title III—
   not just the subset of U.S. nationals who were U.S nationals before the confiscation of their
   property. (citations omitted). “Any” means “one or some indiscriminately of whatever kind.”
   Patel v. Garland, 142 S. Ct. 1614, 1622 (2022) (citing Webster’s Third New International
   Dictionary, at 97).
          Moreover, where Congress intended to include limitations in the requirements for
   bringing a claim under Title III, it did so expressly. See 22 U.S.C. §§ 6082(a)(1)(a), (a)(4)(B),
   (a)(5)(C). In fact, Section 6082(a)(1)(A) is silent as to whether a claimant must have been a
   U.S. national at the time of confiscation. Courts must construe Congress’s silence on an issue
   “as exactly that: silence.” E.E.O.C. v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 774 (2015).
          Absent any statutory language imposing a condition as to when a claimant or owner
   of confiscated property must have become a U.S. national, Defendants’ argument fails.
                  2.     The Statutory Construction Advanced By Defendants Conflicts
                         With Express Provisions of The Act
          The HBA not only lacks any operative provision supporting Defendants’ construction
   but also includes several provisions expressly recognizing claims by persons who became U.S.
   nationals after their property was confiscated by the Cuban Government. Defendants’
   interpretation of the Act must be rejected because it would, in violation of the rules of
   statutory construction, deprive these provisions of meaning and effect, rendering them
   inoperative, superfluous, void, and insignificant.




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                         i.      Section 6083(b) Contradicts Defendants’ Interpretation
          Section 6083(b) of the HBA directly contradicts the contention that claimants must
   have been U.S. nationals at the time their property was confiscated. That provision expressly
   permits courts to refer cases to the Foreign Claims Settlement Commission (“FCSC”)
   “whether or not” the claimants were U.S. citizens at the time of confiscation and amended
   the International Claims Settlement Act of 1949 (“ICSA”) “by adding at the end the following
   new section”:
          “SEC. 514. Notwithstanding any other provision of this Act and only for
          purposes of section 302 of the Cuban Liberty and Democratic Solidarity
          (LIBERTAD) Act of 1996, a United States district court, for fact-finding
          purposes, may refer to the [Foreign Claims Settlement] Commission, and the
          Commission may determine, questions of the amount and ownership of a claim
          by a United States national (as defined in section 4 of the Cuban Liberty and
          Democratic Solidarity (LIBERTAD) Act of 1996), resulting from the
          confiscation of property by the Government of Cuba described in section
          503(a), whether or not the United States national qualified as a national of the
          United States (as defined in section 502(1)) at the time of the action by the
          Government of Cuba.”
   Pub. L. 104–114, Title III, § 303, March 12, 1996, 110 Stat.785 (emphasis added). Although
   it is omitted from the published version of Section 6083, 7 this language is codified at 22 U.S.C.
   § 1643l, in proximity to other provisions of the ICSA. This provision confirms that “a claim
   by a United States national” can be asserted under the HBA “whether or not the United States
   national qualified as a national of the United States…at the time of the action [i.e.,
   confiscation] by the Government of Cuba.”
          The addition of this new language in Section 1643l of the ICSA reflects Congress’
   recognition that, for claims other than those brought under the HBA, the FCSC may consider
   only claims brought by someone who was “a national of the United States on the date of the
   loss.” 22 U.S.C. § 1643c (emphasis added). The new language, applicable only to HBA
   plaintiffs, accommodated claims by persons who became U.S. nationals after the date of
   confiscation, demonstrating that Congress intended to authorize such claims in Title III.




   7
    Omitted” means “deleted for a reason other than it was repealed,” here because “it amend[s]
   another provision.” See Glossary, Office of Law Revision Counsel (available at
   https://uscode.house.gov/faq.xhtml).


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          Construing Title III to require a claimant to have been a U.S. national at the time of
   confiscation would violate the rules of statutory construction. Johnson v. United States, 2015
   WL 10963702, at *8 (S.D. Fla. Feb. 9, 2015) (“[A] statute must be construed to give effect to
   all its provisions, so that no part will be inoperative or superfluous, void or insignificant.”)
   (emphasis added).
                         ii.    Section 6083(c)(1) Contradicts Defendants’ Interpretation
          Section 6083(c)(1) provides:
          Nothing in this chapter or in section 514 of the [ICSA], as added by subsection
          (b), shall be construed–
                 (1) to require or otherwise authorize the claims of Cuban nationals who
                 became United States citizens after their property was confiscated to be
                 included in the claims certified to the Secretary of State by the Foreign
                 Claims Settlement Commission for purposes of future negotiation and
                 espousal of claims with a friendly government in Cuba when diplomatic
                 relations are restored….
   22 U.S.C. § 6083(c)(1) (emphasis added). In this provision of the HBA, Congress again
   acknowledged “the claims of Cuban nationals who became United States citizens after their
   property was confiscated” (although such claims will not be part of any potential settlement
   with a friendly government in Cuba). The construction advanced by Defendants would
   deprive this provision of any meaning or effect and render it superfluous.

                         iii.   Section 6082(a)(5)(C) Contradicts Defendants’ Interpretation
          Section 6082(a)(5)(C) provides:
          (C) A United States national, other than a United States national bringing an
          action under this section on a claim certified under title V of the [ICSA], may
          not bring an action on a claim under this section before the end of the 2-year
          period beginning on the date of the enactment of this Act.
   22 U.S.C. § 6082(a)(5)(C). Anyone who was a U.S. national at the time of confiscation was
   eligible to file a claim under the ICSA (see 22 U.S.C. § 1643c(a)) and the HBA requires anyone
   who was eligible to file a claim under the ICSA to have done so. See 22 U.S.C. § 6082(a)(5)(A).
   Thus, anyone who was a U.S. national at the time of confiscation would be “a United States
   national bringing an action under this section on a claim certified under title V of the [ICSA].”
   22 U.S.C. § 6082(a)(5)(C).
          If only those who were U.S. nationals at the time of confiscation could bring an action
   under Title III, then no one could bring such an action who was “other than a United States


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   national bringing an action under this section on a claim certified under title V of the [ICSA].”
   Id. In that event, the two-year waiting period imposed by Section 6082(a)(5)(C) could not
   apply to anyone, rendering that provision meaningless, inoperative, and superfluous. Under
   the rules of statutory construction, the Court should reject the construction urged by
   Defendants in favor of the interpretation compelled by the HBA’s express language: Title III
   permits claims by persons who became U.S. nationals after the confiscation of their property.
                                  iv.    Section 6081(3)(B)(iii) Undermines Defendants’
                                         Interpretation
          In support of Title III of the HBA, Congress made the express finding that:
          (3) Since Fidel Castro seized power in Cuba in 1959 …
                 (B) through his personal despotism, he has confiscated the property of …
                            (iii) thousands [of] Cubans who claimed asylum in the United
                            States as refugees because of persecution and later became
                            naturalized citizens of the United States.
   22 U.S.C. § 6081(3)(B)(iii) (emphasis added). Having identified a group of victims who
   became U.S. nationals after the Cuban Government confiscated their property, it is
   unreasonable to conclude that Congress intended to exclude those victims from the remedy
   provided by Title III.
          B.     The Legislative History Of The HBA Provides Confirmation
          Because the HBA’s plain language is clear and unambiguous (and Defendants do not
   argue otherwise), the Court need not even consider the Act’s legislative history. But even if
   there were some ambiguities, the legislative history unequivocally demonstrates that Title III
   does not require the claimant or owner of confiscated property to have been a U.S. national
   when the property was confiscated by the Cuban government.
          Members of Congress and Congressional reports acknowledged that the provisions
   enacted as Title III granted a private right of action to all who were U.S. nationals before the
   law was enacted—even if they were not U.S. nationals when their property was confiscated.
   See, for example, 141 Cong. Rec. H9342 (1995) (the HBA provides a remedy for “Cubans who
   left Cuba and became Americans, who are American citizens now”); H.R. Rep. 104-202 at
   31 (July 24, 1995) (those who became U.S. citizens after confiscation “are included within
   the definition of a United States national”); 142 Cong. Rec. S1487 (1996) (“this legislation




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   will broaden the universe of those eligible to be compensated to include individuals who were
   not U.S. citizens at the time their property was taken.”); id. at S1498.
          C.      Regueiro Does Not Compel This Court To Adopt Defendants’ Construction
                  Of The HBA
          Defendants’ construction relies not on the statute itself but on a district court decision
   in Regueiro v. American Airlines, Inc., 2022 U.S. Dist. LEXIS 116153, at *8 (S.D. Fla. June 30,
   2022). It is well-established that a “district court is not bound by another district court’s
   decision, or even an opinion by another judge of the same district court[.]” Fox v. Acadia State
   Bank, 937 F.2d 1566, 1570 (11th Cir. 1991). Among other things, the Regueiro court
   overlooked relevant provisions of the Act, including Sections 6083(b), 6082(a)(5)(C), and
   6081(3)(B)(iii); indeed, no party raised these provisions in the briefing prior to the magistrate
   judge’s report and recommendation or at the hearing before the magistrate judge. See
   Regueiro, No. 19-cv-23965-JEM, ECF Nos. 123, 126, 127 (S.D. Fla.). This Court should
   conduct its own statutory construction analysis, taking into consideration the arguments and
   authorities set forth herein that were not raised in Regueiro. 8
   III.   The HBA Requires a “Claim to” Confiscated Property, Not Direct Ownership of
          Confiscated Property
          Defendants next advance an argument rejected by every court that has encountered it
   – that owning a “claim to” confiscated property should mean ownership of confiscated
   property. See, e.g., Iglesias v. Pernod Ricard, No. 20-CV-20157-KMW, 2020 WL 13367465, at
   *11 (S.D. Fla. Aug. 17, 2020) (rejecting identical argument); Garcia-Bengochea v. Carnival Corp.,
   407 F. Supp. 3d 1281, 1289-90 (S.D. Fla. 2020) (same). 9
          As the Garcia-Bengochea court explained, the argument that corporate shareholders
   have no “claim to” confiscated property where the corporation owned that property belies
   “the text, context, and purpose of Helms-Burton.” Garcia-Bengochea, 407 F. Supp. 3d at 1289.


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     In their section on the Regueiro decision (MTD at 9-10), Defendants also raise arguments on
   the domestic takings rule and indirect ownership through corporations, both of which are
   raised in separate sections of the motion (MTD at 10-14, 14-16) and addressed by Plaintiffs
   in the corresponding sections of this opposition.
   9
     See also Garcia-Bengochea v. Norwegian Cruise Line Holdings Ltd., No. 1:19-CV-23593-JLK, 2020
   WL 5028209, at *2 (S.D. Fla. Aug. 25, 2020) (“Norwegian's Motion to Dismiss on this
   ground is denied for the same reasons discussed in the Court's August 26, 2019 order in the
   Carnival case.”).


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   The Garcia-Bengochea court analyzed dictionary definitions, Congressional intent, multiple
   canons of statutory construction, and the goal of the HBA to conclude as a matter of law that
   shareholders of confiscated companies have claims to the confiscated assets of those
   companies and the HBA does not require direct ownership of those assets. Id. at 1289-91.
          First, the HBA provides a cause of action to anyone who owns a “claim” to confiscated
   property. The ordinary meaning of “claim” implies something “substantially broader than a
   direct interest” in confiscated property and courts should not use “corporate formalities...to
   confine Helms-Burton.” Id. (emphasis in original). Similarly, courts may not “add or subtract
   words from a statute.” Id. at 1290 (citing Friends of the Everglades v. S. Fla. Water Mgmt. Dist.,
   570 F.3d 1210, 1224 (11th Cir. 2009)). Defendants’ interpretation requires the Court to
   subtract the words “the claim to” from the phrase “owns the claim to such property” so that
   only plaintiffs who directly owned confiscated property may bring an HBA case.
          Defendants argue without support that Congress added the words “claim to” for
   purposes of allowing a person who acquired the original property owner’s “claim to” the
   property to bring an HBA cause of action. See MTD at 13 (“The additional words ‘the claim
   to such’ make it clear that the ‘national’ who can pursue ‘the claim to such’ property does not
   necessarily need to be the original owner of the property.”) (emphasis in original). But the
   “original owner” in Defendants’ hypothetical still only transferred their “claim to” the same
   property. Moreover, the HBA does not support the contention that Congress was concerned
   about those who acquired a “claim to” confiscated property from the original owner. To the
   contrary, Congress expressly stated in the statute that it was concerned about the “victims of
   these confiscations.” 28 U.S.C. § 6081(11). Indeed, the Garcia-Bengochea court found that
   Congress’s use of this “colloquial language” compelled the conclusion that Congress did not
   have “corporate formalities in mind.” Garcia-Bengochea, 407 F. Supp. 3d at 1289.
          Defendants contend this was “clear legal error,” citing a new “legal presumption” that
   “courts are to presume the strict application of corporate formalities unless expressly varied
   by Congress.” MTD at 11-12 (citing Dole Food Co. v. Patrickson, 538 U.S. 468, 476 (2003)).
   There is no such presumption. The Dole case Defendants cite as establishing this
   “presumption” did no such thing. Dole simply held that Congress likely “had corporate
   formalities in mind” when enacting the Foreign Sovereign Immunities Act (“FSIA”) because
   Congress used language such as “shares” and “separate legal person.” Dole, 538 U.S. at 475.


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   In fact, Garcia-Bengochea distinguished Dole on that ground. Garcia-Bengochea, 407 F. Supp. 3d
   at 1289 (distinguishing Dole). Just as Dole found Congress likely considered corporate
   formalities because it used corporate terms, Garcia-Bengochea found that Congress likely did
   not consider corporate formalities when it enacted Title III of the HBA because it used terms
   like the “rightful owner” and “victims.” Id. There is no clear legal error.
          Next, as Defendants acknowledge, courts interpret the HBA in context with the
   “closely related” International Claims Settlement Act of 1949. Id. “Claims” against Cuba in
   that statute may be based on property “owned wholly or partially, directly or indirectly by a
   national of the United States.” 22 U.S.C. § 1643c(a) (emphasis added). This “added context”
   indicates that a claim under Helms-Burton does not require direct ownership and includes
   indirect ownership based on a claim to corporate ownership. Garcia-Bengochea, 407 F. Supp.
   3d at 1290.
          Finally, Defendants’ corporate formality argument would “substantially undermine
   Congress’ goal of deterring trafficking.” Id. (citing 22 U.S.C. § 6081(11)). If the corporate
   entity no longer exists (or if the Cuban government simply confiscates it), Defendants could
   continue to traffic in Plaintiffs’ property with impunity, leaving the shareholders without any
   rights to pursue recompense. According to Garcia-Bengochea, it is simply “implausible” to
   suggest Congress intended this result. Id.
   IV.    The Domestic Takings Rule Has No Application Here
          Defendants argue that any confiscation under the HBA is required to violate
   international law and the confiscation at issue here did not violate international law because
   of the domestic takings rule. MTD at 14-15. Although the domestic takings rule does
   “demarcate[] a class of acts that are outside of the purview of international law,” any
   argument that the rule applies to the HBA “has no basis in law.” Sucesores de Don Carlos Nunez
   y Dona Pura Galvez, Inc. v. Societe Generale, S.A., 2021 WL 6065758, at *6 (S.D.N.Y. Dec. 22,
   2021). The domestic takings rule is irrelevant because there is nothing in the HBA that
   requires a violation of international law. Defendants rely heavily on Fed. Republic of Germany
   v. Philipp, 141 S. Ct. 703, 711 (2021), and misquote it as acknowledging some “longstanding
   U.S. law” that takings by a foreign state must violate international law to be recognized by
   U.S. courts. MTD at 14 (citing Phillipp, 141 S. Ct. at 711). There is no such rule. Philipp
   interpreted a provision in the FSIA that expressly required that a confiscation of property was


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   “taken in violation of international law.” 28 U.S.C. § 1605(a)(3). The HBA has no such
   requirement.    Philipp court that Congress’s use of that phrase requiring a violation of
   international law compels courts to consider the domestic takings rule. Philipp, 141 S. Ct. at
   715. The HBA does not contain any such requirement of a violation of international law and
   therefore the domestic takings rule has no application here.
          Defendants next argue that the HBA requires a “wrongful” confiscation and Plaintiffs
   failed to plead same. Notwithstanding Defendants’ repeated, emphasized use of the term
   “wrongful” (MTD at 1, 14-15), the term “wrongful” appears nowhere in the HBA’s operative
   provisions. Defendants mistake congressional findings in Section 6081, which does use the
   term “wrongful,” with the HBA’s operative provisions, which do not. Congressional findings
   appearing in the prologue of a statute “cannot override a statute’s operative language.”
   Sturgeon v. Frost, 139 S. Ct. 1066, 1086 (2019). The Supreme Court has made clear that
   “operative provisions should be given effect as operative provisions, and prologues as
   prologues.” Dist. Of Columbia v. Heller, 554 U.S. 570, 578 n.3 (2008). The operative provision
   requires trafficking in property “which was confiscated by the Cuban Government on or after
   January 1, 1959.” 22 U.S.C. § 6082(a)(1)(A). The term “confiscated” is defined as the Cuban
   Government’s seizure of property without providing compensation. 22 U.S.C. § 6023(4).
   Plaintiffs pled the Cuban Government seized their property “without compensation” no less
   than ten times. Doc. No. 65 at ¶¶ 2, 94, 95, 102, 172(a), (c), (d), (e), (h), (i).
   V.     Collateral Estoppel is Inapplicable
          Defendants argue that a decision currently on appeal should be given preclusive effect
   to compel this Court to adopt that decision’s ruling on (1) a contract interpretation issue, and
   (2) a statutory interpretation issue. First, neither argument actually seeks dismissal of the
   cause of action and it is therefore inappropriate for a Rule 12(b)(6) motion. Second, the Court
   should follow Supreme Court precedent suggesting the appropriate path is to defer ruling on
   collateral estoppel until after the appeal. Third, collateral estoppel should not be applied
   regardless because it has no impact on pretrial proceedings in this case. Fourth, collateral
   estoppel does not apply to these questions of law.




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          A.      Collateral Estoppel Does Not Preclude Plaintiffs’ Claims and Therefore
                  Cannot Be Raised in a Rule 12(b)(6) Motion
          Although collateral estoppel is an affirmative defense, it can be raised in a motion to
   dismiss where it precludes the action and the defense is apparent on the face of the complaint.
   Concordia v. Bendekovic, 693 F.2d 1073, 1076 (11th Cir. 1982). Neither is true here.
          First, collateral estoppel can only be raised in a Rule 12(b)(6) motion where application
   of the defense would “summarily dismiss[]” the action. Id. at 1075 (citations omitted). But
   Defendants’ collateral estoppel argument – at least with respect to the Concession – does not
   seek dismissal of the action. Rather, Defendants argue that Plaintiffs should be estopped from
   relitigating a particular contract interpretation issue – namely, the geographic scope of the
   Concession – which is unrelated to whether Plaintiffs properly pled an HBA claim. MTD at
   16. This is not a proper Rule 12(b)(6) argument because it does not seek dismissal for “failure
   to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6). Regardless of the
   Concession’s geographic scope, Plaintiffs adequately alleged a one-count complaint for
   trafficking in violation of the HBA and Defendants’ collateral estoppel argument does not
   dispute this. Moreover, even if the Concession did not exist at all, Defendants concede their
   collateral estoppel argument would not result in dismissal because Plaintiffs still adequately
   pled trafficking by Defendants’ use of Plaintiffs’ confiscated land. See MTD at 16 n.6
   (conceding their argument would not result in “dismissal of the alleged trafficking upon
   11,000 Acres of sugar land”).
          Second, the defense of collateral estoppel is not apparent on the face of the Amended
   Complaint. Although a court can take judicial notice of another court’s records to determine
   whether collateral estoppel applies, the moving party must introduce into evidence all relevant
   records from the prior proceeding. Concordia, 693 F.2d at 1076 (reversing a district court’s
   application of res judicata at the motion to dismiss stage where the moving party only
   introduced the complaint and judgment). Simply referring to various filings in another case is
   insufficient. State Farm Mut. Auto. Ins. Co. v. B & A Diagnostic, Inc., 104 F. Supp. 3d 1366, 1374
   (S.D. Fla. 2015). Here, Defendants only refer to various filings in the Seaboard Marine case but
   have not introduced any records into evidence other than a version of the Concession
   Plaintiffs filed in the prior case. MTD at 17-19 and Exh. B.




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          B.      Collateral Estoppel Should Not Be Decided Until After Resolution of the
                  Seaboard Marine Appeal
          As the Supreme Court said: “[i]n significant part, preclusion doctrine is premised on
   an underlying confidence that the result achieved in the initial litigation was substantially
   correct. ‘In the absence of appellate review,’ we have observed, ‘such confidence is often
   unwarranted.’” Bravo-Fernandez v. United States, 580 U.S. 5 (2016) (citations omitted).
   Applying Bravo-Fernandez, a district court recently held that, although there were “forceful
   reasons to apply collateral estoppel,” denying its application pending appeal of the initial
   judgment was necessary “to bolster ‘confidence that the result achieved in the initial litigation
   was substantially correct.’” Mondelez Glob. LLC v. Int’l Union of Operating Engineers Loc. 399,
   2019 WL 216738, at *4 (N.D. Ill. Jan. 16, 2019) (citing Bravo-Fernandez, 137 S. Ct. at 358).
          Here, far from bolstering confidence in its correctness, Plaintiffs have strong arguments
   showing legal error by the district court in Seaboard Marine by, among other things,
   interpreting “whereas” clauses as binding and sufficient to override the unambiguous
   operative provisions of the Concession. See Whetstone Candy Co., Inc. v. Kraft Foods, Inc., 351
   F.3d 1067 (11th Cir. 2003) (“Whereas” clauses “are not binding when the contract is
   otherwise unambiguous.…They are merely prefatory recitations of the facts that lead the
   parties to enter the agreement”) (citations omitted). Moreover, the district court interpreted
   the Concession in a manner that contradicts the plain language of one operative provision,
   renders superfluous other operative provisions, and adds limitations to the Concession that
   do not exist in its unambiguous operative terms.
          C.      Collateral Estoppel Should Not Be Applied Where Resolution of an Appeal
                  Has Little to No Impact on Pretrial Proceedings in This Case
          Although an appeal does not strip a judgment of its collateral estoppel effect, courts
   must nevertheless confront the “substantial difficulties” that arise where a second court must
   decide the preclusive effect of a judgment “while an appeal [of that judgment] is pending.”
   18A Fed. Prac. & Proc. Juris. § 4433 (3d ed.). This is because a “judgment that has been
   vacated, reversed, or set aside on appeal is thereby deprived of all conclusive effect, both as
   res judicata and as collateral estoppel.” Jaffree v. Wallace, 837 F.2d 1461, 1466 (11th Cir. 1988)
   (quoting 1B Moore’s Federal Practice Para. 0.416[2], at 517 (1984)). Given these practicalities,
   where an appeal is pending, application of collateral estoppel to dismiss or stay a case is “least
   attractive when the second action presents claims or issues that must be tried regardless of the


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   outcome of the first action and there are cogent reasons to fear the effects of delay.” 18A Fed.
   Prac. & Proc. Juris. § 4433 (3d ed.).
          Here, Plaintiffs have appealed the Seaboard Marine decision and the outcome of that
   appeal will not impact the pretrial proceedings in this case. Accordingly, there is no reason to
   make a collateral estoppel determination at this stage. In the Seaboard Marine appeal, the
   Eleventh Circuit must determine whether the scope of the Concession is the Bay of Mariel (as
   expressed in the plain language of its operative provisions) or confined to one small dock on
   the east side of the Bay of Mariel (in contravention of its express terms). The Eleventh Circuit
   must also determine whether the estates and inheritors are proper plaintiffs. In either
   outcome, merits discovery in this case will be the same. Plaintiffs require discovery
   concerning the extent of Defendants’ trafficking in the Bay of Mariel. Regardless of the scope
   of the Concession, Plaintiffs alleged that Defendants traffic in their 11,000 acres of land, on
   which sit major facilities that Plaintiffs alleged Defendants use as part of their trafficking, such
   as the headquarters for the Container Terminal, the logistics facility alleged in Plaintiffs’
   Amended Complaint, and container storage areas. See, e.g., Am. Compl. at ¶¶ 35-36, 126-33.
   Even if a portion of the Container Terminal does not sit on those 11,000 acres and that portion
   is not otherwise included in the scope of the Concession, discovery in this case encompasses
   Defendants use of the Container Terminal and the surrounding land. It cannot be separated,
   and Defendants do not argue otherwise. Moreover, discovery may reveal that Defendants
   traffic throughout the Bay of Mariel; hence any limitations on the geographic scope within
   the Bay are irrelevant. Similarly, whether this case involves one Plaintiff or all Plaintiffs, the
   elements required to prove trafficking are the same.
          Finally, there are “cogent reasons to fear the effects of delay.” 18A Fed. Prac. & Proc.
   Juris. § 4433 (3d ed.). Plaintiff Odette Blanco de Fernandez is 92 years old and Defendants
   have not sought to dismiss her from the case. Imposing any delay pending resolution by the
   Eleventh Circuit or issuing a ruling that could later be vacated after an Eleventh Circuit
   reversal is inherently prejudicial to Ms. Fernandez. It is prejudicial to all Plaintiffs, as many
   of the facts Plaintiffs must prove relate to events that occurred sixty years ago and testimony
   may come from witnesses of advanced age. Defendants have already successfully delayed this
   case for over a year due to lengthy motion practice resulting in the denial of all of Defendants’
   arguments for a stay. See Doc. Nos. 54, 56.


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          D.      Collateral Estoppel Does Not Apply to Conclusions of Law
          “[I]ssue preclusion does not attach to abstract rulings of law.” 18 Fed. Prac. & Proc.
   Juris. § 4425 (3d ed.); see also Matter of Westmoreland Coal Co., 968 F.3d 526, 532 (5th Cir.
   2020) (“Preclusion does not apply if ‘the issue is one of law and treating it as conclusively
   determined would inappropriately foreclose opportunity for obtaining reconsideration of the
   legal rule upon which it was based.’”) (citing Restatement (Second) of Judgments § 29(7)
   (1982)). Here, Defendants seek to apply collateral estoppel to two conclusions of law by a
   different court: (1) the interpretation of the scope of the Concession as a question of law (see
   De Fernandez v. Seaboard Marine, Ltd., 2022 WL 3577078, at *8 (S.D. Fla. Aug. 19, 2022)
   (“[I]nterpreting the 1955 Concession is a question of law for the Court.”); and (2) the
   interpretation of Florida probate law and the HBA as applied to heirs and estates (see de
   Fernandez v. Seaboard Marine, Ltd., 2021 WL 3173213, at *8 (S.D. Fla. July 27, 2021)). Both
   these issues are questions of law to which collateral estoppel does not apply.
          Even if collateral estoppel could apply to questions of law, the Court should
   nevertheless consider these two issues of law de novo at the appropriate time in these
   proceedings and afterwards consider the impact of collateral estoppel. See Int’l Railways of
   Cent. Am. v. United Brands Co., 358 F. Supp. 1363, 1374 (S.D.N.Y. 1973) (“It seems easier to
   approach contract interpretation de novo and then to see whether the findings or the doctrines
   of res judicata or collateral estoppel support or defeat the result.”).
   VI.    This Court Has Specific Personal Jurisdiction over CMA France
          CMA France 10 contends that this Court lacks personal jurisdiction over it under both
   the Florida Long-Arm Statute and Federal Rule of Civil Procedure 4(k)(2) “because of the
   limits of constitutional due process.” (Dkt. 72 at 19). 11 CMA France is wrong.

   10
     CMA America does not join in the personal jurisdiction argument (see MTD at 19-25);
   hence, CMA America concedes that this Court has jurisdiction over it (see also id. at 25, noting
   CMA America is “before the Court”).
   11
     CMA France contests personal jurisdiction under both Florida Statute §48.193 and Federal
   Rule of Civil Procedure 4(k)(2) on the ground that “this Court cannot assert jurisdiction over
   S.A. because of the limits of constitutional due process.” (MTD at 19). Because CMA France
   does not take issue with the application of any particular part of §48.193 or Rule 4(k)(2) other
   than the due process limitation, Plaintiffs likewise confine their argument here to
   constitutional due process. As CMA France concedes (MTD at 19), the minimum contacts
   analysis is the same under Rule 4(k)(2) and the Florida Long-Arm Statute, except that, under


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          The parties agree that, to establish a non-resident defendant’s minimum contacts with
   a forum “for specific-jurisdiction purposes, (1) the claim must ‘arise out of or relate to’ one of
   the defendant’s contacts in the forum, (2) the defendant must have ‘purposefully availed’ itself
   of the privilege of conducting activities within the forum, and (3) jurisdiction must comport
   with ‘traditional notions of fair play and substantial justice.’” Herederos De Roberto Gomez
   Cabrera, LLC v. Teck Res. Ltd., 43 F.4th 1303, 1310 (11th Cir. 2022).
          Ford Motor Co. v. Montana Eighth Judicial Dist. Ct., 141 S. Ct. 1017 (2021), held:
          The contacts needed for [specific] jurisdiction often go by the name purposeful
          availment. … The defendant…must take some act by which it purposefully
          avails itself of the privilege of conducting activities within the forum State.
          …The contacts must be the defendant’s own choice and not random, isolated,
          or fortuitous. …. They must show that the defendant deliberately reached out
          beyond its home—by, for example, exploiting a market in the forum State or
          entering a contractual relationship centered there. … The plaintiff’s
          claims…must arise out of or relate to the defendant’s contacts with the forum.

   Id. at 1024-1025 (internal citations, quotations, and other marks omitted). In that case, Ford
   conceded that it did substantial business in the two states at issue and therefore purposefully
   availed itself of the privilege of conducting business there (id. at 1026). Ford argued, however,
   that the lower courts lacked jurisdiction because the lawsuits did not arise out of its in-forum
   conduct. Id. The Supreme Court rejected that position and held that:
          Ford’s causation-only approach finds no support in this Court’s requirement of
          a connection between a plaintiff’s suit and a defendant’s activities . . .. our most
          common formulation of the rule demands that the suit “arise out of or relate to
          the defendant’s contacts with the forum.” The first half of that standard asks
          about causation; but the back half, after the “or,” contemplates that some
          relationships will support jurisdiction without a causal showing.

   Id. at 1026, 1028 (citations omitted).
          Here, as in Ford, CMA France purposefully availed itself of the privilege of doing
   lucrative business in the United States and Florida, and Plaintiffs’ suit arises out or relates to
   those abundant U.S. contacts. First, as to purposeful availment of the forum, contrary to CMA
   France’s protestation that it has “purposefully avoided connection to this forum” (Dkt. 72 at



   Rule 4(k)(2), the relevant forum is the United States as a whole rather than the particular state
   in which the district court sits. Teck Res. Ltd., 43 F.4th at 1310.



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   23), Plaintiffs alleged in their Amended Complaint that CMA France itself – not through its
   subsidiaries (contra Dkt. 72 at 21) 12 – repeatedly reached into Florida and the United States.
   It did so by itself entering into contracts (the Bills of Lading) 13 as “Carrier” 14 (and therefore
   the disclosed principal) of nearly 700 cargo shipments from various U.S. Ports – including
   PortMiami in Miami-Dade County, Florida – to the Port of Mariel, Cuba as the port of
   discharge. The Port of Mariel is alleged to sit on and use Plaintiffs’ Confiscated Property.
   (Am. Compl. ¶¶ 26-30, 37-41, including the allegation that CMA America signed as “agent”
   for CMA France as “Carrier” on the U.S.-Cuba Bills of Lading).
          CMA France does not dispute the allegations that it entered into the nearly 700 Bills
   of Lading listing U.S. ports of loading and Port of Mariel as the port of discharge, and it
   expressly admits to having entered into at least one a contractual “Bill of Lading for
   Combined Transport and Port to Port Shipment” that specifically identifies the “Port of


   12
     Notably subsidiary CMA America also took relevant action in Florida. The Amended
   Complaint alleges: “The business that CMA America transacts in Florida includes trafficking
   in the Confiscated Property by acting as CMA France’s agent for CMA France’s carrying of
   containers from PortMiami to the Port of Mariel.” (Am. Compl. ¶39) (see also id. ¶40 “CMA
   America is the agent on behalf of CMA France for the entire shipment of containers from
   PortMiami in Florida to the Port of Mariel in Cuba regardless of whether the containers make
   any stops or change vessels on the way.”); id. ¶156 and ¶157, “As CMA France’s agent, CMA
   America handles aspects of the U.S. side of the trafficking voyages, including booking the
   travel to Cuba, coordinating the travel to Cuba, loading the containers onto CMA France’s
   vessels, and communicating with CMA France’s customers.”).

    See Crowley Am. Transport, Inc. v. Richard Sewing Machine Co., 172 F.3d 781, 783 n.2 (11th
   13

   Cir. 1999) (“A ‘bill of lading’ is the contractual agreement between a shipper and a carrier.”).
   14
      According to CMA France’s publicly available terms and conditions “‘Carrier’ means the
   Party on whose behalf this Bill of Lading is issued.” https://www.cma-
   cgm.com/static/eCommerce/Attachments/BILL%20OF%20LADING%20CMA%20CG
   M%20Terms%20and%20Conditions%20-%2006_2020.pdf (last visited October 18, 2022). See
   also Karimas Imp. Exp., LLC v. Guaranteed Int’l Shipping LLC, 2021 U.S. Dist. LEXIS 261041
   (D. Conn. July 27, 2021) (in case where bill of lading said “[s]igned for the Carrier CMA
   CGM S.A. by CMA CGM (America) LLC as agent for the Carrier,” finding as fact: “The
   defendant, CMA CGM America, is the United States agent for the disclosed principal, non-
   party CMA CGM S.A.”); Ziegler v. Subalipack (M) SDN BHD, 2017 U.S. Dist. LEXIS 128584
   (S.D. Tex. Aug. 14, 2017) (finding that, where the U.S. subsidiary, MSC USA, signed the bill
   of lading “as agent on behalf of the carrier MSC Mediterranean Shipping S.A.,” MSC
   Mediterranean Shipping S.A. was the disclosed principal).



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   Loading” (Box 12) as “Miami” and the “Port of Discharge from Vessel” (Box 13) as “El
   Mariel” (see Dkt. No. 72-1, Robbins Decl. Ex. D at pages 378-81 of the pdf; see also MTD at
   22). That Bill of Lading for Combined Transport and Port to Port Shipment was on June 28,
   2020 “Signed for the Carrier CMA CGM SA by CMA CGM (America) LLC as agent for the
   Carrier.” The following combined images are excerpted from that Bill of Lading for
   Combined Transport attached to Defendants’ Motion to Dismiss at Dkt. No. 72 (the
   “Uncontested Bill of Lading”).




          Rather, CMA France ignores the importance of the key uncontested jurisdictional fact
   that it is the disclosed principal to these nearly 700 contracts, all of which resulted from CMA
   France’s solicitation of U.S. (including Florida) customers and its own business dealings (Am.
   Compl. ¶¶ 29, 31). The import of its status as “Carrier” and disclosed principal on the Bills of
   Lading is that CMA France itself purposefully reached into and availed itself of the privilege
   of doing business in Florida and the United States. See SEC v. Carillo, 115 F.3d 1540, 1545-
   1546 (11th Cir. 1997) (purposeful availment where repeat solicitation advertisements
   contemplating a continuing relationship with U.S. customers were reasonably calculated to
   reach the forum); S & Davis Int’l, Inc. v. Yemen, 218 F.3d 1292, 1305 (11th Cir. 2000) (in
   personal jurisdiction analysis, noting “Performance logically required contact and interaction
   with the United States”). The shipment of the container that is the subject of the Uncontested
   Bill of Lading was expressly contracted by CMA France to be carried by CMA France as
   “Carrier” from the South Florida Container Terminal at the Port of Miami within this judicial
   district to the “Port of Discharge from Vessel” at “El Mariel.”
          Moreover, while it is not dispositive, see Teck, 43 F.4th at 1311, the Amended
   Complaint also alleges throughout that CMA France did not obtain authorization of U.S.
   Plaintiffs, who are in Florida, to do all that it was repeatedly doing in Mariel, Cuba. Although


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   the failure to obtain U.S. plaintiffs’ authorization by itself might be insufficient under Eleventh
   Circuit precedent, it is certainly a relevant contact, and when considered together with the
   other voluminous contacts, demonstrates purposeful availment.
          Second, Plaintiffs’ claims indisputably arose out of or related to CMA France’s contacts
   with Florida and the United States. Plaintiffs alleged that CMA France is using its forum
   contacts (entering into contracts to serve as Carrier for U.S.-origin cargo shipments from the
   United States, including Florida ports, to the Port of Mariel, Cuba) as an instrument for
   achieving the trafficking alleged, namely the use, profiting, and benefiting from Plaintiffs’
   confiscated property in Mariel, Cuba. See Carillo, 115 F.3d at 1544-1545 (finding relatedness
   satisfied where defendants used U.S.-based bank accounts to carry out the sale of unregistered
   securities to U.S. investors). Under Ford Motor, it matters not that Plaintiffs’ Confiscated
   Property is in Cuba or that the cargo shipments departed from Florida as opposed to traveled
   to Florida and hence that the effects were felt mainly in Cuba. (Contra Dkt. 72 at 24). The
   question for specific personal jurisdiction is whether there is a “strong relationship among the
   defendant, the forum, and the litigation.” Ford Motor, 141 S. Ct. at 1028. Here, there is no
   question that, because of the nearly 700 cargo shipments for which CMA France served as
   Carrier (and CMA America as agent), there is a strong relationship among the defendant
   (CMA France), the forum (the United States as a whole or Florida for the Florida-originating
   shipments), and this litigation (which involves inter alia those very cargo shipments).
          Similarly, in Atchley v. AstraZeneca UK Ltd., 22 F.4th 204 (D.C. Cir. 2022), although
   the foreign defendants gave bribes and gifts to alleged terrorists in Iraq, the D.C. Circuit held
   personal jurisdiction existed in the U.S. because those foreign defendants had contracts with
   U.S. companies that supplied the products used in those bribes and gifts. Importantly, the
   Court explained that “the forum contacts need not themselves be unlawful.” Id. at 234 (emphasis
   added). As to purposeful availment, the foreign suppliers “reached into the United States to
   contract with an affiliated U.S. manufacturer to be the manufacturer’s exclusive agent in
   Iraq.” Id. at 233. Pursuant to those contracts, the foreign suppliers “worked in Iraq to secure
   contracts to sell the U.S. manufacturer’s goods there.” Id. at 233. As for whether plaintiffs’
   claims arose out of or related to the defendants’ in-forum contacts with the forum, the Court
   found that they did because plaintiffs’ claims focused on defendants’ provision of bribes to the
   alleged terrorists. In other words, defendants were using “forum contacts as an instrument for


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   achieving the wrong alleged.” Id. at 234 (citing Licci, 732 F.3d 161). Notably, “the forum
   contacts need not themselves be unlawful. And the defendants’ forum contacts need not have
   caused or given rise to the plaintiffs’ claims.” Id. (citing Ford Motor).
          Here as in Atchley, CMA France used its many forum contacts as an instrument for
   achieving the wrong alleged. For purposes of the personal jurisdiction inquiry, it does not
   matter whether the U.S.-originating cargo shipments might constitute “legal U.S. trade” (Dkt.
   72 at 21, 24). Again, “the forum contacts need not themselves be unlawful.” Atchley, 22 F.4th
   at 234; see also Carillo, 115 F.3d at 1545 (finding that, although the U.S. bank accounts by
   themselves were not fraudulent, the use of those bank accounts to carry out sales of
   unregistered securities was related to plaintiffs’ cause of action of securities fraud). CMA
   France cites no law suggesting that a forum-based contact must be illegal to be relevant.
          Moreover, it is irrelevant that the U.S.-originating cargo shipments may have stopped
   in Jamaica and/or were loaded onto different ships with different operators before finally
   arriving in the Port of Mariel. (Dkt. 72 at 21). As noted above, the salient fact is that CMA
   France entered into contractual Bills of Lading for cargo shipments loaded in U.S. ports,
   including PortMiami, with Mariel as the expressly listed port of discharge. Indeed, those Bills
   of Lading do not even mention Jamaica or any intermediary port. They identify the U.S. port
   and the Port of Mariel. See Uncontested Bill of Lading, Defendants’ Motion to Dismiss at
   Dkt. No. 72. The Carrier’s obligations continue from port of loading to port of discharge. See
   Norfolk S. Ry. Co. v. James N. Kirby, Pty Ltd., 543 U.S. 14, 18–19 (2004) (“A bill of lading
   records that a carrier has received goods from the party that wishes to ship them, states the
   terms of carriage, and serves as evidence of the contract for carriage”); Marubeni Am. Corp. v.
   Stevens Shipping & Terminal Co., 1999 U.S. Dist. LEXIS 24315 (S.D. Ga. Apr. 23, 1999) (“A
   ‘bill of lading’ after all, ‘is a contract between the shipper and the carrier and continues to
   govern the rights and obligations of the parties until delivery”) (internal quotation omitted).
   (See also Am. Compl. ¶¶ 40 and 156, alleging that CMA America’s and CMA France’s roles
   last “for the entire shipment of containers from PortMiami in Florida to the Port of Mariel in
   Cuba regardless of whether the containers make any stops or change vessels on the way”).
          In fact, a district court recently found that similar forum contacts not only “related to”
   the torts alleged but had a direct causal relationship with the claims. In FCStone Merchant
   Services, LLC v. SGR Energy, Inc., 2021 U.S. Dist. LEXIS 131392 (S.D. Tex. July 14, 2021),


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   plaintiff FMS sued inter alia defendant shipping company, STS, for breach of contract and
   various torts related to two voyages of domestic crude oil from Texas to Colombia. The
   shipping company moved to dismiss for lack of personal jurisdiction, arguing it lacked
   minimum contacts with Texas and that the alleged wrongdoing occurred in Colombia so the
   wrongdoing did not arise out of or relate to any Texas contacts. The district court rejected
   that argument, holding that, if STS had not loaded “its ship with the cargo from a Texas-
   based client and transporting it through Texas waters and into the ocean until reaching
   Colombia—then the alleged disputes giving rise to FMS’s causes of action against STS would
   not have occurred.” Id. at *10 (internal quotations, citations, and other marks omitted). Here
   too the trafficking alleged arises out of or relates to CMA France’s shipping activities.
          The cases relied upon by CMA France are inapposite. In Teck, the plaintiff “alleged
   only that the effects of [defendant] Teck’s actions were felt in the United States—not that Teck
   engaged in any ‘activity or occurrence’ in the United States.” 43 F.4th at 1311. By contrast,
   here, Plaintiffs have alleged the CMA France engaged in nearly 700 cargo shipments
   originating in the United States with Mariel, Cuba – including Plaintiffs’ Confiscated Property
   – as the final destination.
          The magistrate recommendation in North American Sugar Inds v. Xinjiang, 2022 U.S.
   Dist. LEXIS 156237 (S.D. Fla. Aug. 30, 2022), is also distinguishable. There, a defendant
   noted it was not the “carrier for or a party to either of the two shipments at issue” and the
   other defendants noted they had no involvement in the shipments or simply monitored them.
   Id. at *14-15. The defendants thus argued – and the court agreed – that they “did not take any
   actions in this forum” with respect to two shipments that went from China to Cuba, with
   stops in Miami. Id. This case is distinguishable because (a) CMA France is the carrier for the
   almost 700 cargo shipments and in that way is directly involved with the shipments, (b) unlike
   the shipments in North American Sugar, which stopped in Florida, the shipments here originated
   in the United States, including Florida, and listed on the contracts Mariel, Cuba as the
   destination, and (c) CMA France, personally as the disclosed principal and carrier on its bills
   of lading, and by and through its agents in the United States, engaged in numerous activities,
   as alleged in the Amended Complaint in Florida and the United States related to the loading
   of those shipments onto vessels to be carried by CMA France to Mariel, Cuba (ECF No. 65,
   ¶¶ 26, 29, 37, 55.b, 153).


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          For all these reasons, due process is more than satisfied, and CMA France is subject
   to the specific personal jurisdiction of this Court. CMA France also argues, however, that it
   will suffer “great” “difficulties” if it is found subject to the Court’s personal jurisdiction
   because of the EU and French Blocking Statutes. (Dkt. 72 at 22-23). This argument should be
   rejected. CMA France raised these Blocking Statutes in an effort to stay this litigation, and
   this Court rejected CMA France’s arguments in a thorough opinion, finding that the U.S.
   interest outweighed any foreign interests and CMA France had not met its burden of proving
   hardship. De Fernandez v. CMA CGM S.A., 2022 U.S. Dist. LEXIS 123083 (S.D. Fla. July 12,
   2022). CMA France has identified no supposed procedural burden either. (Contra Dkt. 72 at
   22). That experts were involved in the question of ownership in the Seaboard Marine case is
   not remarkable. U.S. litigation often involves the use of expert witnesses to opine on certain
   questions, including ownership. There is nothing unique or particularly burdensome, and
   whether CMA France would want to use experts in support of its defenses is entirely within
   CMA France’s control. Finally, Plaintiffs never argued that the HBA private right of action
   trumps due process concerns. (Contra Dkt. 72 at 25). And, the fact that CMA America is
   before the Court matters not because Plaintiffs alleged that both CMA France and CMA
   America are liable for their own trafficking. Both parties must now defend those claims here.
   Dated: October 18, 2022                             Respectfully submitted,
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                                   CERTIFICATE OF SERVICE
          I hereby certify that on this 18th day of October 2022, the foregoing was electronically
   filed with the Clerk of the Court by using the CM/ECF system, which will send a notice of
   electronic filing to all counsel of record.
                                                   /s/ John S. Gaebe
                                                   John S. Gaebe, Esq.
